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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                           :
CURTIS SUMMIT,
                                           :              Civil Case No.:
                                           :
                                           :
                         Plaintiff,        :              COMPLAINT AND JURY DEMAND
                                           :
             - against –                   :
                                           :
                                           :
                                           :
EQUINOX HOLDINGS, INC.,
                                           :
                                           :
                                           :
                         Defendant.        :
                                           :
                                           :
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                                       INTRODUCTION

       1.      Plaintiff Curtis Summit (“Plaintiff” or “Mr. Summit”) brings this action through

his attorneys, Imbesi Law Group P.C. and Gary Wachtel, Esq., against Defendant Equinox

Holdings, Inc. (“Defendant” or “Equinox”), seeking damages and other appropriate relief for his

claims, including employment discrimination and unlawful policies and practices on account of

age, in violation of his statutory, civil, and human rights under the Age Discrimination in

Employment Act of 1967 (herein after “ADEA” or “29 U.S.C.A. § 623”), Article 15 of the

Executive Laws of the State of New York, §290 et. seq., including §296 as amended (hereinafter

referred to as the “State HRL”), and Article I, Section 8 of the New York City Administrative

Code, known as the New York City Human Rights Law, §8-101 et. seq., (“City HRL”).

                                JURISDICTION AND VENUE



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        2.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331.

        3.       This Court has supplemental jurisdiction of the state law claims asserted pursuant

to 28 U.S.C. § 1367, because the state law claims are related to the federal claims such that the

state law claim arose out the same case or controversy as the federal law claim.

        4.       Venue is proper in the Southern District pursuant to 28 U.S.C. § 1391 as the

events and conduct giving rise to this claim occurred in this District.

                                              PARTIES

        5.       Plaintiff Curtis Summit is a resident of New York, New York. Plaintiff is

currently fifty-nine (59) years of age.

        6.       Defendant Equinox Holdings, Inc. is a foreign business corporation authorized to

conduct business in the State of New York and does conduct business in the State of New York.

It is a holding company that operates fitness clubs throughout the country, including in New

York City.

        7.       Defendant is an “employer” as defined in the applicable federal, state and city

statutory authorities.

        8.       Plaintiff is an “employee” as defined in the applicable federal, state, and city

statutory authorities.

                                     STATEMENT OF FACTS

    A. Background

        9.       Defendant is a luxury fitness corporation which own and operates over 300 fitness

clubs worldwide, including 35 fitness clubs in New York.

        10.      In 1997, Plaintiff began working for Defendant as a boxing instructor.



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       11.     Plaintiff is a former professional boxer.

       12.     By 2019, Plaintiff was teaching 11 fitness classes per week.

       13.     Plaintiff taught classes at several of Defendant’s club locations throughout New

York City.

       14.     Over his lengthy career, Plaintiff became a beloved instructor, who often received

high praise from Defendant’s members.

       15.     Other than an occasional complaint that the workout was difficult, from a member

trying Plaintiff’s workout for the first time, Plaintiff had no member complaints and no

disciplinary history.

   B. Pretextual and Discriminatory Termination

       16.     During the last year of his employment with Defendant, Plaintiff was treated

differently from similarly situated younger employees.

       17.     For example, Tracey Grossman, the regional manager at Equinox’s Wall Street

fitness club, regularly required Plaintiff to perform tasks that younger, but otherwise similarly

situated instructors, were not asked to do. For example, Ms. Grossman instructed Plaintiff to

clean the boxing studio after class and monitor classroom attendance and tardiness, which was

otherwise done by janitorial service or staff who greet and sign in members as members arrive.

       18.     Upon information and belief, younger instructors were not asked to perform

additional tasks outside of teaching the fitness class.

       19.     Within the last year of his employment, Plaintiff observed younger instructors

receive internal trainings. Plaintiff was excluded from receiving, and not offered, similar career-

growth opportunities.




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        20.     In December of 2019, Plaintiff taught a class at Defendant’s Wall Street location.

He went to the juice bar to order a “peanut butter split” smoothie. The juice bar employee

responded that they did not have that flavor. Plaintiff asked if they had the ingredients to prepare

the smoothie for him, which was regularly available at other club locations.

        21.     A male employee at the juice bar suggested a “sex on the beach” flavored

smoothie. Plaintiff declined the offer and responded that he wanted the peanut butter drink and

left the fitness club.

        22.     Approximately one week later, Plaintiff taught a class Defendant’s Flatiron fitness

club. When he went to the locker room after class, he found the contents of his locker room

spilled all over the floor with his unlocked locker wide open.

        23.     Plaintiff questioned staff in the locker room, who are there to assist members,

observe locker room activity , and maintain security and cleanliness, who said they did not see

anything and were unaware that there was clothing and other personal property strewn all over

the floor.

        24.     Plaintiff then left the locker room to and sought a manager and spoke to the

location manager, “Ryan,” asking how his locker had become unlocked and opened and his

belongings ended up on the floor without any locker room staff observing the incident, but Ryan

did not have a response.

        25.     The next day, on or about December 20, 2019, Plaintiff was called into corporate

headquarters.

        26.     First, Gerald Calvo and Ms. Grossman questioned Plaintiff about the locker room

incident, where Plaintiff’s locker had been unlocked and his personal belongings had been




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tampered with. Plaintiff was not informed about whether an investigation had been opened and

whether any information had been learned.

        27.     Next, Mr. Calvo and Ms. Grossman questioned Plaintiff about the juice bar

incident and accused him of inappropriately yelling “sex on the beach” in the middle of the

fitness club. Plaintiff denied yelling anything at all and explained what happened as described

above. He reiterated that it was the name of a drink that a juice bar employee suggested, that he

said no and left the fitness club.

        28.     Nothing further was discussed during the meeting. Plaintiff was then told that

Defendant would consider the two incidents and respond to him after Plaintiff’s upcoming

vacation.

        29.     However, just a few hours later, Ms. Grossman called Plaintiff to inform him that

his employment had been terminated. The phone call was disconnected, and Plaintiff did not

receive any explanation of his termination after over twenty (20) years of employment.

    C. Terminated Based on Plaintiff’s Age

        30.     Upon information and belief, Plaintiff was one of the oldest instructors employed

by Defendant.

        31.     Most instructors are under the age of forty (40).

        32.     Most members that Plaintiff taught were teenagers, or in their twenties and

thirties.

        33.     After Plaintiff’s termination, he was replaced by significantly younger employees.

        34.     The classes Plaintiff taught for twenty (20) years are now being taught by

employees nearly half his age.




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          35.    Plaintiff’s replacements continue to teach his signature classes which he created

and designed for Defendant.

          36.    In January of 2020, over fifty (50) members of Defendant’s fitness clubs sent an

e-mail expressing their sadness and dissatisfaction with Plaintiff’s abrupt and shocking

termination.

                                       COUNT I
                    DISCRIMINATION IN VIOLATION OF THE STATE HRL

          37.    Plaintiff hereby repeats and realleges all allegations set forth as if fully set forth

herein.

          38.    Defendant is an “employer” as defined by the State HRL.

          39.    Plaintiff is an “employee” as defined by the State HRL.

          40.    The aforementioned acts of Defendant constitute unlawful age discrimination

against Plaintiff, under the State HRL in violation of Article 15, § 290 et. seq. of the New York

State Executive Laws and specifically § 296 thereof, which states that:

                It shall be an unlawful discriminatory practice: (a) For an employer or an employee
                or agent thereof, because of the actual or perceived age… of any person to refuse to
                hire or employ or to bar or to discharge from employment such person or to
                discriminate against such person in compensation or in terms, conditions or
                privileges of employment.

          41.    Upon information and belief, younger employees, specifically those under the age

of forty (40) were treated more favorably (i.e. not terminated) when involved in similar

situations. Said adverse treatment was based upon Plaintiff’s age rather than any non-

discriminatory reason.

          42.    As a result of Defendant’s violations of the foregoing statutory laws, it is liable to

Plaintiff pursuant to State HRL § 297(9).

                                                 COUNT II

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                       DISCRIMINATION IN VIOLATION OF THE CITY HRL

          43.      Plaintiff hereby repeats and realleges all allegations set forth as if fully set forth

herein.

          44.      Defendant is an “employer” as defined in the City HRL.

          45.      Plaintiff is an “employee” as defined by the City HRL.

          46.      The aforementioned acts of Defendant constitute unlawful discrimination against

Plaintiff in violation of Chapter I, Title 8 of the Administrative Code of the City of New York, §

8-107 under the City HRL, which states that:

                 It shall be an unlawful discriminatory practice: (a) For an employer or an employee
                 or agent thereof, because of the actual or perceived age… of any person, to refuse to
                 hire or employ or to bar or to discharge from employment such person or to
                 discriminate against such person in compensation or in terms, conditions or
                 privileges of employment.

          47.      As set forth above, Defendant, by its conduct, discriminated against Plaintiff and

forced Plaintiff to endure adverse employment actions affecting and altering the terms,

conditions and privileges of their employment.

          48.      As a direct result of Defendant’s discrimination, Plaintiff suffered significant

losses of income and emotional distress.

          49.      As a result of Defendant’s violations of the foregoing statutory laws, it is liable to

Plaintiff pursuant to the City HRL § 8-502 for damages and such other remedies as may be

deemed just and appropriate.

                                      COUNT III
                DISCRIMINATION IN VIOLATION OF 29 U.S.C.A. § 623 (“ADEA”)

          50.      Plaintiff hereby repeats and realleges all allegations set forth as if fully set forth

herein.

          51.      Defendant is an “employer” as defined in the ADEA.

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       52.     Plaintiff is an “employee” as defined in the ADEA.

       53.     The aforementioned acts of Defendant constitute unlawful discrimination against

Plaintiff in violation of Chapter 14, Title 29 of the United States Code Annotated, 29 U.S.C.A. §

623 under the Federal ADEA, which states that:

               It shall be an unlawful for an employer: (1) to fail or refuse to hire or to discharge
               any individual or otherwise discriminate against any individual with respect to his
               compensation, terms, conditions, or privileges of employment, because of such
               individual’s age; (2) to limit, segregate, or classify his employees in any way
               which would deprive or tend to deprive any individual of employment
               opportunities or otherwise adversely affect his status as an employee, because of
               such individual’s age; or (3) to reduce the wage rate of any employee in order to
               comply with this chapter.

       54.     As set forth above, Defendant by its conduct, discriminated against Plaintiff and

forced Plaintiff to endure adverse employment actions affecting and altering the terms,

conditions and privileges of his employment.

       55.     As a direct result of Defendant’s discrimination, Plaintiff has suffered, and

continues to suffer, significant emotional and financial damages.

       56.     As a result of Defendant’s violations of the foregoing statutory laws, it is liable to

Plaintiff pursuant to 29 U.S.C.A. § 623 for damages and such other remedies as may be deemed

just and appropriate.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

             a. Compensatory damages in an amount to be determined by a jury that is

                sufficient to compensate Plaintiff for all pain and suffering, humiliation,

                emotional distress, stress and mental anguish;

             b. Economic damages in the form of back pay and compensation for lost benefits,

                plus pre-judgment interest;

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           c. Damages in the form of front pay or reinstatement, plus pre-judgment interest;

           d. An award of punitive damages sufficient to deter Defendant from engaging in

               future unlawful conduct;

           e. Reasonable costs and attorney’s fees; and

           f. Any further relief as this Court deems just and proper.

                                        JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable as of right by jury.

Dated: New York, New York
       June 24, 2020

                                                      Respectfully submitted,

                                                      By: Brittany Weiner
                                                      Brittany Weiner, Esq.
                                                      Imbesi Law Group PC
                                                      1501 Broadway, Suite 1915
                                                      New York, NY 10036
                                                      Tel: (646) 767-2271
                                                      Fax: (212) 658-9177
                                                      Email: brittany@lawicm.com


                                                      Gary J. Wachtel, Esq.
                                                      450 7th Avenue
                                                      New York, New York 10123
                                                      Tel: (212) 371-6500




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